             Case 3:19-cv-06250-RSM Document 51 Filed 12/29/20 Page 1 of 4




 1                                                  THE HONORABLE RICARDO S. MARTINEZ
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT TACOMA
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10
     COWLITZ COUNTY, a political subdivision of       CASE NO. 3:19-cv-06250-RSM
11 Washington, and COWLITZ COUNTY YOUTH
12 SERVICES CENTER, a department of Cowlitz STIPULATED MOTION TO STAY
   Superior Court,
13                                          PENDING SETTLEMENT
                                                      NEGOTIATIONS
                                 Plaintiffs,
14
15                 vs.

16 UNIVERSITY OF WASHINGTON, a public
17 education institution, and ANGELINA GODOY,
     Center of Human Rights of University of
                                                      NOTED ON MOTION CALENDAR:
18 Washington,                                        DECEMBER 28, 2020
19                               Defendants.
20
                   and
21
     UNITED STATES OF AMERICA,
22
23                               Intervenor,

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26                                             JOINT STIPULATION

27        The parties, through their counsel, are currently engaged in settlement negotiations in an

28 effort to resolve this litigation with limited further motions practice. The parties have made

     STIPULATED STAY PENDING                                               UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     SETTLEMENT NEGOTATIONS                                                 SEATTLE, WASHINGTON 98101
     3:19-cv-06250-RSM - 1                                                        (206) 553-7970
             Case 3:19-cv-06250-RSM Document 51 Filed 12/29/20 Page 2 of 4




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     progress towards resolution but need more time to continue these efforts. In particular, since
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     the last stipulated motion, Dkt. 48, records were produced to the University of Washington
 3
     and Professor Godoy (“UW”), and UW and the United States Customs and Immigration
 4
     Enforcement (“ICE”) are continuing to confer regarding certain Freedom of Information Act
 5
     (“FOIA”), 5 U.S.C. § 552, exemptions claimed by ICE. The parties request that this Court
 6
     continue to stay this matter for 60 days, during with time ICE will provide to UW a Vaughn
 7
 8 index and UW anticipates withdrawing its records request to Cowlitz at issue in this litigation.
 9 During this period, the parties propose to confer regarding what disputes, if any, may remain
10 in this litigation and afterward provide a status update or proposed final briefing schedule to
11 this Court. The parties therefore jointly stipulate that there is good cause for a further 60-day
12 stay of this above-captioned litigation.
13
14        SO STIPULATED.
15
16 DATED this 28th day of December, 2020.
17
                                                     BRIAN T. MORAN
18    DAVIS WRIGHT TREMAINE LLP                      United States Attorney
19
      By: s/ Eric M. Stahl                           By: s/ Katie D. Fairchild
20       Eric M. Stahl, WSBA #27619                     Katie D. Fairchild, WSBA #47712
         920 Fifth Avenue, Suite 3300                   Assistant United States Attorney
21       Seattle, WA 98104-1610                         700 Stewart Street, Suite 5220
         Telephone: (206) 622-3150                      Seattle, WA 98101-1271
22       Fax: (206) 757-7700                            Telephone: (206) 553-4358
         Email: ericstahl@dwt.com                       Fax: (206) 553-4067
23                                                      Email: katie.fairchild@usdoj.gov
                                                        Attorneys for the United States
24
25
                                                     COWLITZ COUNTY
26                                                   PROSECUTOR’S OFFICE

27                                                   By: s/ Douglas Emry Jensen
                                                        Douglas Emry Jensen, WSBA #20127
28                                                      Dana E. Gigler, WSBA #38193

      STIPULATED STAY PENDING                                              UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
      SETTLEMENT NEGOTATIONS                                                SEATTLE, WASHINGTON 98101
      3:19-cv-06250-RSM - 2                                                       (206) 553-7970
            Case 3:19-cv-06250-RSM Document 51 Filed 12/29/20 Page 3 of 4




 1      Nancy S. Garland, WSBA #43501                David John Berger, WSBA #48480
        Washington Attorney General’s Office         312 SW 1st Avenue
 2      University of Washington Division            Kelso, WA 98626
        4333 Brooklyn Avenue NE, 18th Floor          Telephone: (360) 577-3080
 3      Seattle, WA 98195-9475                       Email: jensend@co.cowlitz.wa.us
        Telephone: (206)543-4150                            giglerd@co.cowlitz.wa.us
 4      Fax: (206)543-0779                                  Bergerd@co.cowlitz.wa.us
        Email: nancy.garland@atg.wa.gov              Attorneys for Cowlitz County and
 5      Attorneys for University of Washington and   Cowlitz County Youth Services Center
 6      Professor Angelina Snodgrass Godoy

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     STIPULATED STAY PENDING                                          UNITED STATES ATTORNEY
                                                                     700 STEWART STREET, SUITE 5220
     SETTLEMENT NEGOTATIONS                                            SEATTLE, WASHINGTON 98101
     3:19-cv-06250-RSM - 3                                                   (206) 553-7970
             Case 3:19-cv-06250-RSM Document 51 Filed 12/29/20 Page 4 of 4




 1
                                              ORDER
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     IT IS SO ORDERED.
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     Dated this 29th day of December, 2020.
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 9
                                              A
                                              RICARDO S. MARTINEZ
10                                            CHIEF UNITED STATES DISTRICT JUDGE

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      STIPULATED STAY PENDING                                      UNITED STATES ATTORNEY
                                                                  700 STEWART STREET, SUITE 5220
      SETTLEMENT NEGOTATIONS                                        SEATTLE, WASHINGTON 98101
      3:19-cv-06250-RSM - 4                                               (206) 553-7970
